Case 3:22-cr-00047-BJB-RSE Document 23 Filed 06/30/22 Page 1 of 4 PageID #: 77




                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF KENTUCKY
                           LOUISVILLE DIVISION

 UNITED STATES OF AMERICA

 v.                                             Criminal Action Nos. 3:22-cr-47-BJB
                                                                     3:22-cr-48-BJB
 BRYAN ANDREW WILSON


                                      * * * * *

      ORDER FOLLOWING ENTRY OF GUILTY PLEAS AND SETTING
                    SENTENCING HEARING

      The Court held an initial appearance, arraignment, and plea hearing
concerning Defendants Bryan Andrew Wilson and Curt Flynn on June 21, 2022.
Stephanie Zimdahl and David R. Weiser, Assistant United States Attorneys,
represented the United States. Brian Butler, retained counsel, represented Mr.
Wilson. Scott Miller, retained counsel, represented Mr. Flynn. Becky Boyd took
down the proceedings as the Court’s official reporter.

       1.    At the start of case no. 3:22-cr-47, which concerned both Defendants, the
United States moved to seal the entire case. DN 5. Magistrate Judge Edwards
granted the motion (DN 10). Case no. 3:22-cr-48 concerns only Mr. Wilson, and was
reassigned to Judge Beaton in the interest of judicial efficiency. DN 7. Before the
Court ruled on the United States’s motion to seal that case, DN 4, the United States
moved without opposition to unseal both cases. The Court grants that motion,
unseals case no. 3:22-cr-47, and denies as moot the pending motion to seal in case no.
3:22-cr-48 (DN 4).

        2.    The Court further granted the United States’ motion to consolidate the
two cases for purposes of a combined arraignment and plea hearing for Mr. Wilson in
the interest of judicial efficiency. Both Defendants, through counsel, agreed with this
course. This order should not be construed as joining the cases in a single information
under Federal Rule of Criminal Procedure 13. See, e.g., United States v. Park, 531
F.2d 754, 760 (5th Cir. 1976) (discussing consolidation of criminal indictments for
trial).

       3.    The parties filed executed waivers of indictment in open court for the
indictments in case nos. 3:22-cr-47 and 3:22-cr-48. Following the waivers, Mr. Wilson
acknowledged his identity and was arraigned on the Informations in case nos. 3:22-
cr-47 and 3:22-cr-48 pursuant to Rule 10 of the Federal Rules of Criminal Procedure.
Mr. Wilson, by counsel, advised the Court of his desire to enter a plea of guilty to

                                          1
Case 3:22-cr-00047-BJB-RSE Document 23 Filed 06/30/22 Page 2 of 4 PageID #: 78




Count 1 of the Information in case no. 3:22-cr-47 and Count 1 of the Information in
case no. 3:22-CR-48, in accordance with a plea agreement and Federal Rule of
Criminal Procedure 11(c)(1)(B).

      4.     The Court found Mr. Wilson competent to enter the plea. The Court
further found the plea to be knowing, voluntary, entered into with the advice of
counsel, and supported by a factual basis. In response to the Court’s description of
Mr. Wilson’s constitutional rights, Mr. Wilson advised the Court that he understood
and waived those rights. The Court also explained that Mr. Wilson would not have a
right to withdraw the plea if the Court does not follow the government’s
recommendation or request.

      5.      Based on these findings, waivers, and discussions, the Court:

           a. Accepts Mr. Wilson’s plea of guilty on Count 1 of the Information in case
              no. 3:22-cr-47 and Count 1 of the Information in case no. 3:22-CR-48
              under a Rule 11(c)(1)(B) plea agreement executed by all parties to this
              case.
           b. Orders the Clerk of Court to file the mandatory plea supplement under
              seal.
           c. Orders the Clerk of Court to enter the plea agreement and sealed
              supplement into the record.

      In order to proceed under the Sentencing Reform Act of 1984, 18 U.S.C.
§§ 3551–59, the Court sets the following deadlines:

       6.    July 6, 2022 – Probation meeting. The Defendant and defense
counsel shall meet promptly with the Probation Officer for an interview, and in no
event later than 10 days from the date of this order. Defense counsel bears
responsibility for contacting the Probation Officer to ascertain the time and place of
the interview, unless the Defendant waives defense counsel’s attendance.

      7.     August 26, 2022 – PSR. Not less than 35 days before sentencing, the
Probation Officer shall provide a copy of the Presentence Investigation Report to
counsel for the Defendant and the United States. Counsel for the Defendant shall
share and discuss the Report with the Defendant. The Court will deem the
Presentence Investigation Report disclosed:
              (a)   the day when the Report is physically delivered to counsel;
              (b)   one day after the Report’s availability is orally communicated to
                    counsel; or




                                           2
Case 3:22-cr-00047-BJB-RSE Document 23 Filed 06/30/22 Page 3 of 4 PageID #: 79




             (c)   three days after notice of the Report’s availability is mailed to
                   counsel, or the date of availability reflected in the notice,
                   whichever is later.

       8.    September 9, 2022 – Objections. Within 14 days thereafter, counsel
shall contact the Probation Office and opposing counsel to identify and explain any
objections to material information, sentencing classifications, sentencing guideline
ranges, or policy statements relevant to the Report. Please make any objections in
writing. Counsel must provide notice to the Probation Office and opposing
counsel by this deadline, even if no objection exists.
             (a)   After receiving counsel’s notice regarding any objections, the
                   Probation Officer shall conduct any further investigation and
                   make any revisions to the Presentence Investigation Report that
                   may be necessary. The Probation Officer may require counsel for
                   both parties to meet with the officer to discuss unresolved factual
                   and legal issues.
             (b)   Except with regard to any objection made under Paragraph 8 that
                   has not been resolved, the Court may accept the Presentence
                   Investigation Report as accurate. The Court, for good cause
                   shown, may allow new objections to be raised at any time before
                   the imposition of the sentence. In resolving disputed issues of
                   fact, the Court may consider any reliable information presented
                   by the Probation Officer, the Defendant, or the United States.

       9.    September 10, 2022 – Scope of the hearing. Not less than 20 days
before sentencing, counsel shall confer regarding the scope of the sentencing hearing.
Each side shall disclose whether it intends to argue for a non-guideline sentence,
whether it intends to call witnesses, and if so, the nature of the testimony. The
parties also shall disclose the identity of any expert witness, and if so a written
summary of the witness’s qualifications, opinions, and the bases and reasons for those
opinions. For any sentencing in which testimony is expected, the parties shall
estimate and promptly communicate the length of time required for the sentencing
hearing by emailing Judge_Beaton_Chambers@kywd.uscourts.gov.

       10.   September 20, 2022 – PSR submission. Not less than 10 days before
sentencing, the Probation Officer shall submit the Presentence Investigation Report
to the sentencing judge. The Report shall be accompanied by the written objections
of counsel, an addendum setting forth the unresolved objections, and the Officer’s
responses. The Probation Officer shall provide a copy of any addendum and revisions
to the Presentence Investigation Report to the Defendant, counsel for the Defendant,
and the United States.




                                          3
Case 3:22-cr-00047-BJB-RSE Document 23 Filed 06/30/22 Page 4 of 4 PageID #: 80




       11.   September 25, 2022 – Sentencing Memoranda. Not less than 5 days
before sentencing, the parties shall file Sentencing Memorandums in support of
their respective positions on any unresolved objections to the PSR and the
appropriate sentence for the Defendant, including any objections to the calculation of
the advisory sentencing guidelines. If anyone requests a non-guideline sentence, that
party’s Sentencing Memorandum shall address any departures or variances
requested, as well as the factors of 18 U.S.C. § 3553(a).

      12.    September 30, 2022 – Sentencing. Judge Beaton will hold a
sentencing hearing at 11:00 a.m. Eastern at the Gene Snyder U.S. Courthouse in
Louisville, Kentucky.

      13.    The Court may modify the times set forth in this Order in response to a
request supported by good cause. The 10-day period provided for disclosure of the
Presentence Investigation Report, 18 U.S.C. § 3552(d), may be shortened only with
the consent of each Defendant.

      14.   Nothing in this Order requires the disclosure of any portions of the
Presentence Investigation Report that are not disclosable under Federal Rule of
Criminal Procedure 32.

      Finally, the Court ORDERS that Mr. Wilson may remain out of custody on a
$25,000 unsecured bond and other conditions set forth in a separate order.


Copies to:   Counsel of record
             U.S. Probation Office

Court Time:        1 hour 56 min
Court Reporter:    Becky Boyd
                                                                     June 29, 2022




                                          4
